      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 1 of 44 PAGEID #: 115




                                 Colemon v. City of Cincinnati
                        United States Court of Appeals for the Sixth Circuit
                                         August 9, 2023, Filed
                                        File Name: 23a0364n.06
                                             No. 21-5968

Reporter

2023 U.S. App. LEXIS 20967 *; 2023 FED App. 0364N (6th Cir.); 2023 WL 5095804

JEREL COLEMON, as personal representative           involvement, rights, municipal liability,

of William R. Virgil, deceased, Plaintiff-          qualified immunity, municipality, exculpatory,

Appellant, v. CITY OF CINCINNATI and                violations, scene, team

STEVE DANIELS, Norwood Police Officer,              Case Summary
Defendants-Appellees.
                                                    Overview
Notice: CONSULT 6TH CIR. R. 32.1 FOR
                                                    HOLDINGS: [1]-A non-prosecuting city was
CITATION OF UNPUBLISHED OPINIONS
                                                    properly granted summary judgment on a
AND DECISIONS.
                                                    released prisoner's Brady claim where its police

Prior History: [*1] ON APPEAL FROM officers had disclosed all the identified
THE UNITED STATES DISTRICT COURT exculpatory information, including another
FOR     THE     EASTERN        DISTRICT        OF individual's confession, to the prosecuting
KENTUCKY.                                           municipality's police officers; [2]-A police

Core Terms                                          officer was entitled to qualified immunity from
                                                    the Brady claim as his involvement in the joint
murder, investigated, summary judgment,
                                                    investigation was minimal, and even if he had
prosecuting, exculpatory information, disclose,
                                                    an obligation to disclose information collected,
non-prosecuting, police officer, homicides,
                                                    the released prisoner failed to point to
exculpatory evidence, district court,
                                                    precedent that could have given the officer
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 2 of 44 PAGEID #: 116
                                                                                         Page 2 of 18
                                   2023 U.S. App. LEXIS 20967, *1


notice that his level of involvement in the           Civil Rights Law > ... > Section 1983
investigation was sufficient for Brady to apply.      Actions > Scope > Government Actions

Outcome                                               Civil Rights Law > ... > Immunity From
Summary judgment affirmed.                            Liability > Local Officials > Knowledge

LexisNexis® Headnotes
                                                      Civil Rights Law > ... > Immunity From
                                                      Liability > Local Officials > Direct Causal
                                                      Links

                                                   HN2[ ] Local Officials, Customs & Policies
   Civil Procedure > Appeals > Standards of
   Review > De Novo Review                         Although 42 U.S.C.S. § 1983 may be exercised
                                                   against a municipality, liability attaches only
   Civil Procedure > ... > Summary
                                                   under a narrow set of circumstances, and a
   Judgment > Appellate Review > Standards
                                                   municipality may not be held liable solely for
   of Review
                                                   employing a tortfeasor. Instead, a plaintiff must

HN1[ ] Standards of Review, De Novo show that through its deliberate conduct, the
Review                                             municipality was the moving force behind the
                                                   injury alleged. For municipal liability under
A district court's grant of summary judgment is
                                                   Monell, a plaintiff must establish that the
reviewed de novo.
                                                   municipality had a policy or custom that caused
                                                   the violation of his rights. A plaintiff may
   Civil Rights Law > ... > Immunity From          demonstrate that a city had such a policy or
   Liability > Local Officials > Customs &         custom in four ways: the plaintiff may prove
   Policies                                        (1) the existence of an illegal official policy or
                                                   legislative enactment; (2) that an official with
   Governments > Local
                                                   final decision making authority ratified illegal
   Governments > Claims By & Against
                                                   actions; (3) the existence of a policy of
      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 3 of 44 PAGEID #: 117
                                                                                                 Page 3 of 18
                                       2023 U.S. App. LEXIS 20967, *1


inadequate training or supervision; or (4) the individual government actors other than those
existence    of    a   custom   of     tolerance   or who are named as parties. A defendant
acquiescence of federal rights violations.               municipality's liability has been determined by
                                                         evaluating     only     a     non-party's     actions,
                                                         suggesting that a party's liability is not
    Civil Rights Law > ... > Immunity From
                                                         required, as long as the court finds a
    Liability > Local Officials > Direct Causal
                                                         constitutional violation occurred.
    Links

    Governments > Local
                                                            Constitutional Law > ... > Fundamental
    Governments > Claims By & Against
                                                            Rights > Procedural Due Process > Scope of
HN3[ ]       Local Officials, Direct Causal                 Protection
Links
                                                         HN4[ ] Procedural Due Process, Scope of
Supreme Court and Sixth Circuit precedent Protection
holds that a constitutional injury is required to
                                                         Under the Brady rule, the prosecution violates
pursue a Monell claim. But it is undecided
                                                         due process when it suppresses material
whether a municipality's liability under 42
                                                         evidence that is favorable to the accused.
U.S.C.S. § 1983 is predicated on first finding
                                                         Violations are assessed using a three-part test:
that an individual officer or employee is also
                                                         The evidence at issue must be favorable to the
liable. Municipalities may be held liable under
                                                         accused, either because it is exculpatory or
§ 1983 in certain cases where no individual
                                                         because it is impeaching; that evidence must
liability   is    shown,   including     when      the
                                                         have been suppressed by the State, either
municipality itself directly caused the violation,
                                                         willfully or inadvertently; and, in what is
or the violation was caused by a combination of
                                                         sometimes      called   the     materiality    prong,
government-sponsored       conduct      not   easily
                                                         prejudice must have ensued.
traceable to one individual official, where
municipal liability is based on the actions of
                                                            Constitutional Law > ... > Fundamental
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 4 of 44 PAGEID #: 118
                                                                                              Page 4 of 18
                                      2023 U.S. App. LEXIS 20967, *1


   Rights > Procedural Due Process > Scope of have a constitutional duty to preserve and
   Protection                                         ultimately disclose that evidence. Unlike the
                                                      prosecutor, who must disclose exculpatory
   Evidence > Burdens of Proof > Allocation
                                                      evidence directly to the defendant, police
HN5[ ] Procedural Due Process, Scope of officers typically discharge their Brady duty by
Protection                                            disclosing       exculpatory    evidence    to    the
                                                      prosecutor in their jurisdiction.
Information about other legitimate suspects
typically favors a defendant and must be
disclosed under the Brady rule.                          Constitutional Law > ... > Fundamental
                                                         Rights > Procedural Due Process > Scope of
                                                         Protection
   Constitutional Law > ... > Fundamental
   Rights > Procedural Due Process > Scope of            Legal Ethics > Prosecutorial Conduct
   Protection
                                                      HN7[ ] Procedural Due Process, Scope of
   Legal Ethics > Prosecutorial Conduct               Protection

HN6[ ] Procedural Due Process, Scope of Brady obligations are generally understood to
Protection                                            extend to information possessed by the law
                                                      enforcement agency investigating the offense,
Police investigating a case generally do have
                                                      but they also require a prosecutor to learn of
Brady-derived duties to disclose exculpatory
                                                      any favorable evidence known to the others
information. Although the Brady rule imposes
                                                      acting on the government's behalf in the case,
an absolute disclosure obligation only on
                                                      indicating       that   joint   investigators    may
prosecutors,    the   police   bear   an   equally
                                                      sometimes incur a Brady duty.
important -derived responsibility to turn over
potentially    exculpatory     evidence    to   the
prosecutor's office. When the exculpatory value          Constitutional Law > ... > Fundamental

of evidence is apparent to police, the police            Rights > Procedural Due Process > Scope of
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 5 of 44 PAGEID #: 119
                                                                                                 Page 5 of 18
                                         2023 U.S. App. LEXIS 20967, *1


   Protection                                            Links

   Legal Ethics > Prosecutorial Conduct                  An     underlying   constitutional    violation        is
                                                         required to sustain a Monell claim.
HN8[ ] Procedural Due Process, Scope of
Protection
                                                              Civil Procedure > ... > Defenses, Demurrers
Where a prosecuting jurisdiction is in full
                                                              & Objections > Affirmative
possession of the exculpatory information
                                                              Defenses > Immunity
possessed by police in the non-prosecuting
jurisdiction, that information is subject to the              Civil Rights Law > Protection of

Brady disclosure obligation of the police and                 Rights > Immunity From

the Brady investigation obligation of the                     Liability > Defenses

prosecutor in the prosecuting jurisdiction. But
                                                              Torts > Public Entity
where a non-prosecuting jurisdiction shields
                                                              Liability > Immunities > Qualified
exculpatory information from the prosecuting
                                                              Immunity
jurisdiction, the Brady duty extends to require,
at the least, that the exculpatory information be             Civil Rights Law > ... > Immunity From

disclosed       to   police   in   the    prosecuting         Liability > Local Officials > Individual

jurisdiction.                                                 Capacity

                                                              Civil Rights Law > Protection of

   Civil Rights Law > ... > Immunity From                     Rights > Immunity From Liability > Federal

   Liability > Local Officials > Direct Causal                Officials

   Links
                                                         HN10[ ] Affirmative Defenses, Immunity

   Governments > Local
                                                         When an officer raises a qualified immunity
   Governments > Claims By & Against
                                                         defense, the plaintiff must show a genuine issue

HN9[ ]       Local Officials, Direct Causal of material fact as to whether the officer
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 6 of 44 PAGEID #: 120
                                                                                               Page 6 of 18
                                    2023 U.S. App. LEXIS 20967, *1


violated clearly established federal law. There Judges: Before: GRIFFIN, STRANCH, and
are two steps to a qualified immunity analysis: DAVIS, Circuit Judges.
the court must determine both that the facts
                                                    Opinion by: JANE B. STRANCH
alleged show the officer's conduct violated a
                                                    Opinion
constitutional right and that the right was
clearly established. The appellate court may
address either question first. Once the qualified JANE B. STRANCH, Circuit Judge. In 2016,
immunity defense is raised, the burden is on the a Kentucky court vacated William Virgil's 1988
plaintiff to demonstrate that the officials are not murder     conviction     based     on   new      DNA

entitled to qualified immunity.                     evidence. A grand jury declined to reindict him,
                                                    and Virgil was released after 28 years in prison.
Counsel: For JEREL COLEMON, as personal
                                                    Virgil brought state and federal claims against
representative of William Virgil, deceased,
                                                    the police officers who investigated his case
Plaintiff - Appellant: Elliot Slosar, Margaret
                                                    and the three cities that employed them:
Elizabeth Campbell, Amy Robinson Staples,
                                                    Newport, Kentucky; Norwood, Ohio; and
Loevy & Loevy, Chicago, IL.
                                                    Cincinnati, Ohio. After discovery, [*2] the
For CITY OF CINCINNATI, OH, Defendant -             officers   and   cities    moved     for     summary
Appellee: Mark Robert Manning, Assistant            judgment. The district court partially denied the
City Solicitor, City of Cincinnati Law              City of Newport's and the Newport officers'
Department, Cincinnati, OH; Scott Matthew           motions for summary judgment, but granted
Heenan, City of Cincinnati, Cincinnati, OH.         summary judgment to Norwood, Cincinnati,

For HOWARD NIEMEIER, Newport Police                 and those cities' officers as to all claims against

Officer, Defendant: Jennifer H. Langen, Adams       them. Virgil now appeals the grant of summary

Law, Covington, KY.                                 judgment as to his Brady claim against
                                                    Norwood police officer Steve Daniels and as to
For STEVE DANIELS, Norwood Police
                                                    his   Monell     claim    against    the      City    of
Officer, Defendant - Appellee: Keith D. Moore
I, City of Norwood, Norwood, OH.
       Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 7 of 44 PAGEID #: 121
                                                                                                          Page 7 of 18
                                                   2023 U.S. App. LEXIS 20967, *2


Cincinnati.1                                                            Virgil's January 1987 release from prison,
                                                                        Welch helped him secure housing and stayed in
                                                                        touch, assisting him with tasks like laundry.
I. FACTUAL BACKGROUND
                                                                        Welch's ex-boyfriend tentatively identified
On April 13, 1987, the body of 54-year-old Virgil as a man that he had seen at Welch's
Retha Welch, a psychiatric nurse in Cincinnati, apartment                           days   before   her   death    was
Ohio, was found at her apartment in Newport, discovered, and two of Virgil's past girlfriends
Kentucky. A post-mortem investigation showed implicated him in the crime. One of his past
that she had been raped, stabbed twenty-eight girlfriends, Sue Daniels, told detectives that
times, and she suffered blunt force trauma to Virgil had asked her to help him murder Welch
the head. Defendant Newport police officers in a plot that included stealing her car and other
Marc Brandt, Norman Wagner, and Rick Sears personal property. Daniels's probation officer
led the initial investigation into Welch's confirmed to detectives that Daniels had
murder, which identified 66 pieces of physical previously approached him about a boyfriend
evidence from the crime scene that included who planned to commit a murder. Another past
fingerprints and a partial bloody palm print. girlfriend, Betty Kelow, told detectives that
Investigators also noted that jewelry had been Virgil had asked her to help murder Welch
taken from the apartment and that Welch's pink because Welch had threatened to tell his parole
Cadillac       was       missing.       Welch's        car     was officer that he had stolen her credit card.
discovered         the     next      day      in    Covington, Finally, a Newport officer secured a statement
Kentucky.                                                               from Virgil's one-time cellmate, Joe Womack,
                                                                        that Virgil had confessed to Womack that he
Welch knew [*3] several former prisoners,
                                                                        murdered Welch.
including Virgil, through a jail ministry
program with which she volunteered. After The Newport police identified additional

                                                                        suspects, including a man named Isaac
1 Virgil died during this appeal and Jerel Colemon, Virgil's relative
                                                                        Grubbs, [*4] who used a witness's phone to
and the representative of his estate, was substituted as his personal
representative in the action. This opinion continues to refer to the
Appellant as "Virgil."
                                                                        call Welch twice on April 11, 1987, and later
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 8 of 44 PAGEID #: 122
                                                                                               Page 8 of 18
                                  2023 U.S. App. LEXIS 20967, *4


that day was shot and killed in a police homicides,                bars      of    soap     left   in    the
standoff. Two witnesses also reported that on bathroom [*5] sinks at the scene in the Welch
April 11, they saw a man who matched and Leon murders, beer bottles at the scene in
Grubbs's description, but not Virgil's, driving, the Welch and Wilton murders, and cuts to the
parking, and wiping down the surfaces of a throat in the Wilton and Welch homicides.
pink Cadillac.                                    Newport officer Brandt testified that officers
                                                  discussed whether there might be a common
Simultaneously, Newport police investigated
                                                  perpetrator of the homicides, a theory that he
whether Welch's murder might be connected to
                                                  said he rejected.
two other homicides committed between
February and April 1987: the murder of Valerie After the initial meetings, the investigations
Wilton in Saint Bernard, Ohio, and the murder proceeded, with Cincinnati police assisting
of Verlene Leon in Norwood, Ohio. Due to St. Newport police with operations in Cincinnati.
Bernard's limited resources, Cincinnati police Cincinnati police helped Newport officers
were brought on to assist St. Bernard police obtain and execute a search warrant on Virgil's
with the Wilton murder investigation. Norwood father's home in Cincinnati. A Cincinnati police
Police Officer Steve Daniels led the Leon officer, Robert Cardone, obtained a search
investigation.                                    warrant in Cincinnati for Virgil's hair and
                                                  blood. Cincinnati officers also helped Newport
On April 16, 1987, officers from Norwood,
                                                  officers locate a potential witness, Virgil's
Newport, and St. Bernard met to discuss the
                                                  friend Karen Oglesby, in Cincinnati, and
three homicides; Cincinnati also acknowledges
                                                  Cincinnati       officer        Cardone      interviewed
that its officers attended a meeting with
                                                  Oglesby with Newport police on April 22,
Norwood, Newport, and St. Bernard on April
                                                  1987. A St. Bernard police officer, Kevin
15, 1987. Notes from the April 16 meeting
                                                  Condon,      also       interviewed       Oglesby,    and
show that investigators compared details of the
                                                  Oglesby gave Condon items of women's
murder scenes and listed similarities including
                                                  clothing that Virgil had given her. File notes
vaginal and anal penetration in all three
                                                  show that Newport officer Wagner requested to
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 9 of 44 PAGEID #: 123
                                                                                                          Page 9 of 18
                                     2023 U.S. App. LEXIS 20967, *5


take the clothes to be identified by Welch's Potentially relevant to the Welch investigation,
daughter or ex-boyfriend, but at the time of Hyden had received psychiatric treatment in
his [*6]      deposition,   Wagner    could    not April 1987, before Welch's death, at the
remember whether he took the clothes to be hospital where she worked. Although no one
identified.                                          has ever been charged in the Leon homicide,
                                                     the Leon investigative [*7] file identified a
Officer Daniels of the Norwood police also
                                                     person named "Danny Staudt" as a primary
acknowledges attending a meeting with other
                                                     suspect based on a lie detector test.
investigators to compare notes about the three
murders. Afterward, Daniels communicated The Kentucky prosecutor eventually secured an
with St. Bernard officer Condon multiple times indictment               against       Virgil.       At     trial,     the
about the open homicide investigations in St. Commonwealth                      relied        on      circumstantial
Bernard and Norwood. This included an April evidence including testimony from Womack
20 call from Daniels to Condon, in which that Virgil had confessed to him.2 The jury
Daniels "advised that he would not go to the found Virgil guilty and sentenced him to 70
prosecutor's office," because "he couldn't years in prison.
contribute additional probable cause"; and a
                                                     In 2015, Virgil was released and granted a new
call from Daniels to Condon on April 23, in
                                                     trial after DNA testing indicated his innocence:
which Daniels asked to come to the St. Bernard
                                                     DNA testing from the victim's vaginal swab
police     department       to   exchange     more
                                                     excluded Virgil as a contributor, DNA testing
information. These calls appear to have been
                                                     showed with reasonable certainty that blood
related to St. Bernard's investigation of the
                                                     found on Virgil's clothing did not belong to
Wilton murder.

The St. Bernard police closed the Wilton
                                                     2 Among    others, the Commonwealth identified Cincinnati Officer
investigation after a person named Hiram             Mike Phillips as a fact witness at trial. The court records supporting
                                                     Phillips's designation as a witness were not before the district court
Hyden committed suicide on April 27, leaving         or initially submitted on appeal. Virgil has asked us to take judicial
                                                     notice under Federal Rule of Evidence 201 of the fact that the
a note that confessed to Wilton's murder.            Commonwealth identified Phillips as a fact witness. Because this
                                                     information is not necessary to our analysis, we deny the motion as
                                                     moot.
      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 10 of 44 PAGEID #: 124
                                                                                                              Page 10 of 18
                                                  2023 U.S. App. LEXIS 20967, *7


Welch, and that hairs recovered at the crime voluntarily dismissed his claims against the
scene were not Virgil's. In 2016, Womack individual Cincinnati officers at summary
recanted his testimony and revealed that it had judgment. The district court also concluded that
been fabricated and coerced by Newport police. Virgil abandoned his Monell claim against the
A grand jury declined to reindict Virgil in City of Norwood because his summary
2017.                                                                   judgment brief did not discuss it; Virgil does
                                                                        not contest this holding on appeal.
In 2016, Virgil sued thirteen officers and the
cities of Newport, Norwood, and Cincinnati,
alleging multiple constitutional violations and II. ANALYSIS
state law tort claims. After discovery, all
                                                                        HN1[ ] A district court's grant of summary
defendants moved for summary judgment. The
                                                                        judgment is reviewed de novo. Wesley v.
district court granted the motions for summary
                                                                        Campbell, 779 F.3d 421, 434-35 (6th Cir.
judgment of the individual Cincinnati and
                                                                        2015). Summary judgment is appropriate here
Norwood officers, [*8] finding that they had
                                                                        if, construing the evidence and reasonable
no duty under Brady v. Maryland, 373 U.S. 83,
                                                                        inferences in Virgil's favor, Cincinnati and
83 S. Ct. 1194, 10 L. Ed. 2d 215 (1963), to
                                                                        Officer Daniels are entitled to judgment as a
disclose favorable evidence to Virgil, and
                                                                        matter of law. See id.; Fed. R. Civ. P. 56(a).
likewise granted summary judgment to the City
of Cincinnati on Virgil's claim under Monell v. Two questions remain in this appeal: (1)
Dep't of Soc. Servs. of New York, 436 U.S. 658, whether Officer Daniels violated Virgil's
98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978), clearly established due process rights under
reasoning that there was no underlying Brady Brady; and (2) whether the City of Cincinnati
violation       by     the     City's      officers.3       Virgil had a "policy or custom" under Monell that
                                                                        caused Cincinnati police officers to violate

3 The district court also denied summary judgment to two Newport
                                                                        Virgil's due process rights under Brady. Both
officers and the City of Newport. After briefing was completed in the
Newport officers' parallel appeal of the district court's denial of
                                                                        issues require the Court to address whether
qualified immunity, Virgil and the Newport defendants reached a
settlement and voluntarily dismissed the appeal.
                                                                        officers—the     Cincinnati      police      and/or
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 11 of 44 PAGEID #: 125
                                                                                        Page 11 of 18
                                    2023 U.S. App. LEXIS 20967, *8


Officer [*9]   Daniels—violated      Brady     by 436 U.S. at 694). A plaintiff may demonstrate
withholding evidence developed during their that a city had such a policy or custom in four
investigation into whether Welch's homicide ways: "the plaintiff may prove '(1) the existence
was connected to the Wilton and Leon murders. of an illegal official policy or legislative
Because Cincinnati officers and officer Daniels enactment; (2) that an official with final
had different levels of involvement in the decision making authority ratified [*10] illegal
interjurisdictional investigation, and because actions; (3) the existence of a policy of
Daniels asserts a qualified immunity defense, inadequate training or supervision; or (4) the
we separately evaluate Virgil's claims against existence        of   a   custom   of   tolerance    or
the City of Cincinnati and Officer Daniels.         acquiescence of federal rights violations.'" Id.
                                                    (quoting Burgess v. Fischer, 735 F.3d 462, 478
                                                    (6th Cir. 2013)). Virgil proceeds with the
A. The City of Cincinnati
                                                    theory that Cincinnati had a policy of
HN2[ ] Although § 1983 may be exercised inadequate training on Brady obligations.
against a municipality, "liability attaches only
                                                    Although Virgil continues to allege that
under a narrow set of circumstances[,]" and a
                                                    Cincinnati is liable for violations of his rights
municipality may not be held liable solely for
                                                    by its officers, he has voluntarily dismissed his
employing a tortfeasor. Jackson v. City of
                                                    Brady claim against the individual officers
Cleveland, 925 F.3d 793, 828 (6th Cir. 2019).
                                                    themselves. HN3[ ] Supreme Court and Sixth
"Instead, a plaintiff must show that 'through its
                                                    Circuit precedent holds that a constitutional
deliberate conduct, the municipality was the
                                                    injury is required to pursue a Monell claim. See
moving force behind the injury alleged.'" Id.
                                                    City of L. A. v. Heller, 475 U.S. 796, 799, 106
(quoting Alman v. Reed, 703 F.3d 887, 903 (6th
                                                    S. Ct. 1571, 89 L. Ed. 2d 806 (1986) (per
Cir. 2013)). For municipal liability under
                                                    curiam); D'Ambrosio v. Marino, 747 F.3d 378,
Monell, Virgil must establish that Cincinnati
                                                    391 (6th Cir. 2014). But "[i]t is undecided
had a "'policy or custom' that caused the
                                                    whether a municipality's liability under § 1983
violation of his rights." Id. (quoting Monell,
                                                    is predicated on first finding that an individual
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 12 of 44 PAGEID #: 126
                                                                                                 Page 12 of 18
                                   2023 U.S. App. LEXIS 20967, *10


officer or employee is also liable." Rayfield v. (rejecting City's argument that because the only
City of Grand Rapids, 768 F. App'x 495, 511 defendant officer in the case had been
n.12 (6th Cir. 2019). As we held in Winkler v. dismissed by the district court, the City should
Madison County, municipalities "may be held also be dismissed).
liable under § 1983 in certain cases where no
                                                   But      we     need       not    decide      whether         a
individual liability is shown," including when
                                                   municipality's        Monell      liability    is   always
the municipality itself directly caused the
                                                   contingent on finding an individual defendant
violation, or the violation was caused by a
                                                   liable    for     a   constitutional       violation.    As
combination of government-sponsored conduct
                                                   explained below, even assuming that Virgil
not easily traceable to one individual official,
                                                   may proceed with his § 1983 claim against the
"where municipal liability is based on the
                                                   City of Cincinnati without also suing the
actions of individual government actors other
                                                   individual Cincinnati officers, he has not
than [*11] those who are named as parties"—a
                                                   presented facts from which a jury could find
situation that would be functionally similar to
                                                   that the officers violated his due process rights
Virgil's voluntary dismissal of the individual
                                                   under Brady. See D'Ambrosio, 747 F.3d at 391.
government actors here. 893 F.3d 877, 899-901
(6th Cir. 2018) (quoting Epps v. Lauderdale HN4[ ] In Brady, the Supreme Court held that
Cnty., 45 F. App'x 332, 334-35 (6th Cir. 2002) the prosecution violates due process when it
(Cole, J., concurring)). Our Circuit has suppresses material evidence that is favorable
previously     determined      a      defendant to the accused. 373 U.S. at 87. Brady violations
municipality's Monell liability by evaluating are assessed using [*12] a three-part test: "The
only a non-party's actions, suggesting that a evidence at issue must be favorable to the
party's liability is not required, as long as the accused, either because it is exculpatory or
court finds a constitutional violation occurred. because it is impeaching; that evidence must
Andrews v. Wayne Cnty., 957 F.3d 714, 725 have been suppressed by the State, either
(6th Cir. 2020); see also Garner v. Memphis willfully or inadvertently"; and, in what is
Police Dep't, 8 F.3d 358, 365 (6th Cir. 1993) sometimes              called    the    materiality       prong,
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 13 of 44 PAGEID #: 127
                                                                                               Page 13 of 18
                                     2023 U.S. App. LEXIS 20967, *12


"prejudice must have ensued." United States v. and Leon murders would tend to exculpate him
Castano, 906 F.3d 458, 466 (6th Cir. 2018) from the Welch murder.
(quoting Strickler v. Greene, 527 U.S. 263,
                                                     With respect to Brady's second prong, however,
281-82, 119 S. Ct. 1936, 144 L. Ed. 2d 286
                                                     the parties dispute whether the Cincinnati
(1999)). Virgil argues that the Cincinnati
                                                     officers had a duty to disclose exculpatory
officers violated Brady by failing to disclose
                                                     information to the Kentucky prosecutor. HN6[
the Wilton and Leon investigative files, which
                                                       ] Police investigating a case generally do
he argues included exculpatory evidence. In
                                                     have     Brady-derived         duties     to    disclose
particular, he points to evidence of other
                                                     exculpatory       information.       Although    Brady
suspects, including Hiram Hyden, and the fact
                                                     imposes an absolute disclosure obligation only
that Virgil was "cleared" as a suspect in the
                                                     on prosecutors, "the police bear . . . an equally
Wilton and Leon murders.
                                                     important 'Brady-derived' responsibility to turn
Neither Cincinnati nor Daniels contest the over potentially exculpatory evidence to the
district court's holding that the evidence related prosecutor's office." Moldowan v. City of
to   the   officers'   joint   investigation   was Warren, 578 F.3d 351, 381 (6th Cir. 2009)
exculpatory. HN5[ ] Information about other (quoting White v. McKinley, 519 F.3d 806, 814
"legitimate suspect[s]" typically favors a (8th Cir. 2008) and reasoning that "there is no
defendant and must be disclosed under Brady. doubt that the police are just as capable of
D'Ambrosio v. Bagley, 527 F.3d 489, 499 (6th depriving                 criminal     defendants       of        a
Cir. 2008). Because the Cincinnati and fundamentally                      fair    trial   by    suppressing
Norwood officers investigated whether the exculpatory evidence."). When the exculpatory
murders in their jurisdictions were linked with value of evidence is "apparent" to police, the
Welch's murder, the district court correctly police have a "constitutional duty to preserve
reasoned that any suspects developed during and ultimately disclose that evidence." Id. at
that period would also be considered suspects 388. Unlike the prosecutor, who must disclose
in Welch's murder, and the fact that [*13]           exculpatory evidence directly to the defendant,
Virgil was cleared as a suspect in the Wilton police officers typically discharge their Brady
      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 14 of 44 PAGEID #: 128
                                                                                                            Page 14 of 18
                                                2023 U.S. App. LEXIS 20967, *13


duty by disclosing exculpatory evidence to the Sutton v. Carpenter that Brady claims cannot
prosecutor in their jurisdiction. Id. at 379-80.                     be sustained based on evidence possessed by
                                                                     "uninvolved government agencies," indicating
The       interjurisdictional           nature         of     this
                                                                     that agencies that are sufficiently involved in an
dispute [*14]       raises     a        question        of   first
                                                                     investigation do have a Brady duty. 617 F.
impression:      whether       a        Brady          disclosure
                                                                     App'x 434, 441 (6th Cir. 2015) (emphasis
obligation extends to investigating officers in a
                                                                     added). Sutton also noted that prosecutors have
non-prosecuting jurisdiction when they work
                                                                     "sleuthing duties" as to "material information
together     with    police        in     the     prosecuting
                                                                     possessed by members of the prosecution
jurisdiction. Brady HN7[ ] obligations are
                                                                     team," id, which at its core includes [*15]
generally understood to extend to information
                                                                     prosecutors      and      police    who      perform
possessed by "the law enforcement agency
                                                                     investigative    duties     and     make   strategic
investigating the offense," Jamison v. Collins,
                                                                     decisions about the case's prosecution, see, e.g.,
291 F.3d 380, 385 (6th Cir. 2002), but they
                                                                     Kyles, 514 U.S at 437-38. The Supreme Court's
also require a prosecutor "to learn of any
                                                                     clarification in Kyles that the prosecution team
favorable evidence known to the others acting
                                                                     may include "others acting on the government's
on the government's behalf in the case," Kyles
                                                                     behalf" supports the proposition that a Brady
v. Whitley, 514 U.S. 419, 437, 115 S. Ct. 1555,
                                                                     duty can also apply to another jurisdiction's
131 L. Ed. 2d 490 (1995), indicating that joint
                                                                     officers who participate in investigative duties
investigators may sometimes incur a Brady
                                                                     and strategic decision making. Id. at 437.
duty.
                                                                     Indeed, as courts increasingly confront cross-
When that duty applies is less clear. Sixth
                                                                     jurisdictional    investigations,     many      have
Circuit     precedent        suggests           that     Brady's
                                                                     analogously held that the relevant inquiry for
application to an officer from a non-prosecuting
                                                                     imputing knowledge of Brady material from
jurisdiction depends on the level of the
                                                                     extra-jurisdictional actors to a prosecutor is the
jurisdiction's      involvement            in      the       joint
                                                                     level of involvement between the prosecuting
investigation. For instance, we concluded in
                                                                     and non-prosecuting jurisdictions. Although
      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 15 of 44 PAGEID #: 129
                                                                                              Page 15 of 18
                                          2023 U.S. App. LEXIS 20967, *15


our Circuit has not addressed this question 2012), precluded the application of a Brady
directly, some courts have examined the "extent duty to a non-prosecuting jurisdiction. In
to which there was a joint investigation with Rimmer, the FBI and state law enforcement
another agency," considering factors including investigated a defendant's case but only the
whether one agency acts on another's behalf or state prosecuted him. Id. at 250. The defendant
under its control and the extent to which the later filed a Freedom of Information Act
agencies work as a team and share resources. (FOIA) request for FBI documents, and we
United States v. Ellison, 527 F. Supp. 3d 161, determined that the federal government had no
166 (D.P.R. 2021) (quoting United States v. Brady duty because it had not prosecuted
Ramos-Cartagena, 9 F. Supp. 2d 88, 91 (D.P.R. Rimmer, and because he had failed to provide
1998)); see also United States v. Risha, 445 evidence "showing that the FBI somehow used
F.3d 298, 304-05 (3d Cir. 2006) (collecting its status as a joint investigator to shield
cases).       Other    courts      have      taken      a exculpatory information from Rimmer." Id. at
comprehensive,           fact-based          approach, 259. Rimmer emphasized that, rather than
examining factors including whether there was segregate the exculpatory evidence in its own
jurisdictional [*16]      overlap     regarding       the files, the FBI had "ensur[ed] that [the evidence]
control or direction of an investigation, whether would be subject to Brady in the event of a
the    case     was    ever     considered     a     joint state prosecution" by turning it over to state
investigation with another agency, whether the police. Id.
officer in question was under the prosecutor's
                                                           Rimmer arose out of a FOIA dispute and did
authority or control, and whether the officer
                                                           not address a freestanding Brady claim; instead,
participated in developing a case for trial. See
                                                           it asked whether a public interest [*17] in the
Stano v. Butterworth, 51 F.3d 942, 946 (11th
                                                           revelation of wrongdoing by the government
Cir. 1995); see also United States v. Antone,
                                                           might justify the documents' disclosure. The
603 F.2d 566, 570 (5th Cir. 1979).
                                                           case therefore does not control on the question
The district court concluded that our decision in of Brady's application to a non-prosecuting
Rimmer v. Holder, 700 F.3d 246 (6th Cir. jurisdiction. Rimmer is persuasive, however, as
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 16 of 44 PAGEID #: 130
                                                                                           Page 16 of 18
                                     2023 U.S. App. LEXIS 20967, *17


to its reasoning that for Brady to apply to a whether they discharged that Brady duty by
government actor from a non-prosecuting disclosing the exculpatory information to the
jurisdiction, a plaintiff must show that the non- Newport police or prosecutor. We need not
prosecuting jurisdiction's status as a joint address            the    first   question   because     the
investigator was somehow used to shield Cincinnati officers disclosed to the Newport
exculpatory information from the prosecuting police all the information to which Virgil points
jurisdiction. This makes sense. HN8[ ] Where as exculpatory. The record shows that Newport
a prosecuting jurisdiction is in full possession officers Brandt and Wagner had meetings,
of the exculpatory information possessed by phone calls, and other communications about
police in the non-prosecuting jurisdiction, that the serial killer investigation and Virgil, and it
information is subject to the Brady disclosure establishes that they knew Wilton's name,
obligation of the police and the Brady Hyden's confession, and the fact that the
investigation obligation of the prosecutor in the investigation was closed ("clearing" Virgil as a
prosecuting jurisdiction. But where a non- suspect)—the only evidence from the Wilton
prosecuting jurisdiction shields exculpatory investigation to which Virgil specifically points
information from the prosecuting jurisdiction, as exculpatory. Even assuming that a Brady
the Brady duty extends to require, at the least, obligation applied to the Cincinnati officers as
that the exculpatory information be disclosed to joint investigators, they discharged any Brady
police in the prosecuting jurisdiction.              obligation that applied.

Based on Rimmer's indication that Brady may HN9[ ] An underlying constitutional violation
require   a   joint   investigator   to   disclose is required to sustain a Monell claim. Because a
exculpatory information to the prosecuting reasonable jury could not find that the
jurisdiction, two questions [*18] remain: (1) Cincinnati officers violated Virgil's due process
whether Cincinnati police were sufficiently rights under Brady, his Monell [*19] claim
involved in the Welch investigation to make against the City also fails.
them investigating members of the "prosecution
team" to which a Brady duty applied; and (2)
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 17 of 44 PAGEID #: 131
                                                                                               Page 17 of 18
                                     2023 U.S. App. LEXIS 20967, *19


B. Norwood Officer Daniels                            prosecuting jurisdiction. See Rimmer, 700 F.3d
                                                      at 259. Compared with the Cincinnati officers'
HN10[ ] Officer Daniels raises a qualified
                                                      contributions to Newport's investigation of
immunity defense, which means that Virgil
                                                      Virgil, Officer Daniels' involvement in the joint
must show a genuine issue of material fact as to
                                                      investigation was relatively minimal. Although
whether Daniels violated clearly established
                                                      Daniels attended at least one interjurisdictional
federal law. Pearson v. Callahan, 555 U.S. 223,
                                                      meeting in April 1987, and had several
231, 129 S. Ct. 808, 172 L. Ed. 2d 565 (2009).
                                                      subsequent [*20] phone calls with St. Bernard
There are two steps to a qualified immunity
                                                      police, Virgil fails to point to record evidence
analysis: the court must determine both that
                                                      that Daniels had contact with the Newport
"the facts alleged show the officer's conduct
                                                      police or prosecutor in any manner after that
violated a constitutional right" and that the right
                                                      meeting.
was "clearly established." Saucier v. Katz, 533
U.S. 194, 201-02, 121 S. Ct. 2151, 150 L. Ed. The             definition     of   "involvement"        in     an
2d 272 (2001). We may address either question investigation is less than clear. Although some
first. See Pearson, 555 U.S. at 236. "Once the courts addressing the question have provided
qualified immunity defense is raised, the parameters                   for     interjurisdictional      Brady
burden is on the plaintiff to demonstrate that obligations, those parameters are highly fact-
the officials are not entitled to qualified specific and evaluated in the context of
immunity." Robertson v. Lucas, 753 F.3d 606, imputing              knowledge          from    other          non-
615 (6th Cir. 2014) (quoting Binay v. prosecuting actors to the prosecutor. Virgil has
Bettendorf, 601 F.3d 640, 647 (6th Cir. 2010)).       failed to point to precedent that could have
                                                      given    Daniels       notice   that   his     level     of
Again, a Brady violation would require that
                                                      involvement in the investigation was sufficient
Daniels was both sufficiently involved to be
                                                      for Brady to apply. Therefore, even if Daniels
considered a part of the prosecution team and
                                                      had an obligation to disclose information
failed   to   disclose    material    exculpatory
                                                      collected in the Leon investigation, that
information gathered in that investigation to the
                                                      obligation was not clearly established at the
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 18 of 44 PAGEID #: 132
                                                                             Page 18 of 18
                                   2023 U.S. App. LEXIS 20967, *20


time of the alleged violation.



III. CONCLUSION

For these reasons, we AFFIRM the district
court's    grant    of   summary   judgment    to
Cincinnati and Officer Daniels.

  End of Document
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 19 of 44 PAGEID #: 133




                                    Gray v. Shelby Cnty.
                      United States Court of Appeals for the Sixth Circuit
                                    August 15, 2023, Filed
                                   File Name: 23a0378n.06
                                Nos. 22-5542/22-5543/22-5544

Reporter

2023 U.S. App. LEXIS 21581 *; 2023 FED App. 0378N (6th Cir.); 2023 WL 5237373

KESHA GRAY, Plaintiff-Appellee, v.               arrest, qualified immunity, seizure, detain,
SHELBY COUNTY, TENNESSEE, et al.,                summary judgment, false-arrest, motorists,
Defendants, BRETT BARNETT (22-5542);             questions, constitutional right, district court,
BRET SIMONSEN (22-5543); EUGENIA                 unreasonable-seizure, excessive-force,
SUMNER (22-5544), Defendants-Appellants.         domestic, seize, excessive force, public interest,
                                                 pulled, arms, reasonable officer, cooperation,
Notice: CONSULT 6TH CIR. R. 32.1 FOR
                                                 detention, arrival, investigate, handcuff, cases,
CITATION OF UNPUBLISHED OPINIONS
                                                 scene, gun
AND DECISIONS.
                                                 Case Summary
Prior History: [*1] ON APPEAL FROM
THE UNITED STATES DISTRICT COURT Overview
FOR    THE     WESTERN       DISTRICT        OF HOLDINGS: [1]-An officer was not entitled to
TENNESSEE.                                       qualified immunity in connection with the
                                                 arrest of a woman suspected to be a victim of
                                                 domestic violence because the seizure was
Gray v. Shelby Cty., 2022 U.S. Dist. LEXIS
                                                 unreasonable and no officer, knowing what the
96617, 2022 WL 1748258 (W.D. Tenn., May
                                                 officer knew, would think he could seize her;
31, 2022)
                                                 [2]-The officer, however, was entitled to
Core Terms
                                                 qualified    immunity     as   to   the   woman's
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 20 of 44 PAGEID #: 134
                                                                                          Page 2 of 26
                                    2023 U.S. App. LEXIS 21581, *1


excessive-force claim because he employed an established that an order denying qualified
objectively reasonable amount of force to arrest immunity is immediately appealable. However,
her; [3]-The supervisor who ordered the officer the court of appeals' jurisdiction in reviewing
to arrest the woman and the police sergeant qualified-immunity denials is limited. The court
who ordered the supervisor to detain the may entertain the officers' arguments only to
woman, were not entitled to qualified immunity the extent they challenge the district court's
because the officer lacked a constitutional basis legal determinations and must ignore the
to seize or arrest the woman.                       defendant's attempts to dispute the facts as read
                                                    by the district court. That said, the court honors
Outcome
                                                    qualified immunity's principles by considering
District court's denial of qualified immunity
                                                    uncontroverted video evidence in the record.
affirmed in part and reversed in part.

LexisNexis® Headnotes
                                                       Civil Rights Law > Protection of
                                                       Rights > Immunity From
                                                       Liability > Defenses

                                                       Torts > Public Entity
   Civil Procedure > ... > Summary
                                                       Liability > Immunities > Qualified
   Judgment > Appellate
                                                       Immunity
   Review > Appealability

                                                       Civil Rights Law > ... > Immunity From
   Civil Rights Law > Protection of
                                                       Liability > Local Officials > Individual
   Rights > Immunity From
                                                       Capacity
   Liability > Defenses

                                                    HN2[ ] Immunity From Liability, Defenses
HN1[ ] Appellate Review, Appealability

                                                    Qualified immunity shields public officials
While most denials of summary judgment are
                                                    from undue interference with their duties and
nonfinal orders which cannot be appealed
                                                    from potentially disabling threats of liability. It
pursuant to 28 U.S.C.S. § 1291, it is well
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 21 of 44 PAGEID #: 135
                                                                                         Page 3 of 26
                                   2023 U.S. App. LEXIS 21581, *1


is an immunity from suit, not a mere defense to defendant is not entitled to qualified immunity.
liability. This immunity gives government With this burden in mind, a defendant is
officials breathing room to make reasonable but entitled to qualified immunity on summary
mistaken judgments about open legal questions, judgment unless the facts, when viewed in the
protecting all but the plainly incompetent or light most favorable to the plaintiff, would
those who knowingly violate the law.               permit a reasonable juror to find that: (1) the
                                                   defendant violated a constitutional right; and
                                                   (2) the right was clearly established. The
   Civil Procedure > ... > Summary
                                                   inquiry may be conducted in any order.
   Judgment > Entitlement as Matter of
   Law > Appropriateness
                                                      Civil Rights Law > Protection of
   Civil Rights Law > Protection of
                                                      Rights > Immunity From
   Rights > Immunity From
                                                      Liability > Defenses
   Liability > Defenses
                                                      Governments > Courts > Judicial Precedent
   Torts > Public Entity
   Liability > Immunities > Qualified              HN4[ ] Immunity From Liability, Defenses
   Immunity
                                                   A clearly established right is one that is
   Civil Rights Law > ... > Immunity From          sufficiently clear that every reasonable official
   Liability > Local Officials > Individual        would have understood that what he is doing
   Capacity                                        violates that right. To determine whether a
                                                   constitutional right is clearly established, the
   Civil Procedure > Judgments > Summary
                                                   court must look first to decisions of the
   Judgment > Burdens of Proof
                                                   Supreme Court, then to decisions of the court
HN3[ ] Entitlement as Matter of Law, of appeals and other courts within the circuit,
Appropriateness                                    and finally to decisions of other circuits. This
                                                   inquiry does not require a case directly on
A plaintiff bears the burden of showing that a
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 22 of 44 PAGEID #: 136
                                                                                            Page 4 of 26
                                    2023 U.S. App. LEXIS 21581, *1


point, but existing precedent must have placed the officer performs a seizure of his person
the statutory or constitutional question beyond subject to the requirements of the Fourth
debate. In an obvious case, the law can be Amendment. The application of physical force
clearly established even without a body of to the body of a person with intent to restrain is
relevant case law.                                  a seizure, even if the force does not succeed in
                                                    subduing the person. Brief seizures are seizures
                                                    all the same.
   Constitutional Law > ... > Fundamental
   Rights > Search & Seizure > Scope of
   Protection                                          Constitutional Law > ... > Fundamental
                                                       Rights > Search & Seizure > Scope of
HN5[ ]       Search & Seizure, Scope of
                                                       Protection
Protection
                                                    HN7[ ]       Search & Seizure, Scope of
The Fourth Amendment prohibits unreasonable
                                                    Protection
seizures to protect the right of the people to be
secure in their persons. U.S. Const. amend. IV.     To determine if a search or seizure was
                                                    unreasonable, and thus unconstitutional, courts
                                                    balance the degree of intrusion on the
   Constitutional Law > ... > Fundamental
                                                    individual's interests against the importance of
   Rights > Search & Seizure > Scope of
                                                    the governmental interests alleged to justify the
   Protection
                                                    intrusion. This balance involves weighing (i)
   Criminal Law & Procedure > Search &              the gravity of the public concerns served by the
   Seizure > Seizure of Persons                     seizure, (ii) the degree to which the seizure

HN6[ ]     Search & Seizure, Scope of advances the public interest, and (iii) the
Protection                            severity of the interference with individual
                                                    liberty. To find a seizure reasonable under the
When an officer detains an individual for the
                                                    Brown test, there must be specific, objective
purpose of requiring him to identify himself,
                                                    facts   indicating   that   society's    legitimate
        Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 23 of 44 PAGEID #: 137
                                                                                           Page 5 of 26
                                     2023 U.S. App. LEXIS 21581, *1


interests require the seizure of the particular The public's interest against domestic violence
individual, or that the seizure must be carried revolves         around   the   victim's   well-being.
out pursuant to a plan embodying explicit, Tennessee's domestic abuse statute expressly
neutral limitations on the conduct of individual makes this point in its legislative intent
officers. In the absence of any basis for provision, which states: The general assembly
suspecting the detainee of misconduct, the intends that the official response to domestic
balance between the public interest and the abuse shall stress enforcing the laws to protect
detainee's right to personal security and privacy the victim and prevent further harm to the
tilts    in   favor   of   freedom   from   police victim. Tenn. Code Ann. § 36-3-618. In another
interference.                                        provision, the statute expressly states: Arrest is
                                                     the preferred response only with respect to the
                                                     primary aggressor. § 36-3-619(b).
    Constitutional Law > ... > Fundamental
    Rights > Search & Seizure > Scope of
    Protection                                          Family Law > Family Protection &
                                                        Welfare > Cohabitants & Spouses > Abuse,
HN8[ ]        Search & Seizure, Scope of
                                                        Endangerment & Neglect
Protection
                                                     HN10[ ] Cohabitants & Spouses, Abuse,
Under the first Brown factor, the graver the
                                                     Endangerment & Neglect
public concerns underlying seizure, the more
likely the seizure is reasonable.                    Nothing in Tenn. Code Ann. § 36-3-619(e)
                                                     requires a victim to identify herself to an officer
                                                     nor obliges anyone to help the officer prepare
    Family Law > Family Protection &
                                                     his report. In this instance, the public's interest
    Welfare > Cohabitants & Spouses > Abuse,
                                                     in law enforcement's ability to file paperwork is
    Endangerment & Neglect
                                                     too minimal to support seizing a domestic
HN9[ ] Cohabitants & Spouses, Abuse, violence victim — especially considering that
Endangerment & Neglect               the duty comes from a statute seeking to protect
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 24 of 44 PAGEID #: 138
                                                                                               Page 6 of 26
                                    2023 U.S. App. LEXIS 21581, *1


such victims.                                       detainee's right to personal security and privacy
                                                    tilts   in   favor      of   freedom     from      police
                                                    interference.
   Constitutional Law > ... > Fundamental
   Rights > Search & Seizure > Scope of
   Protection                                           Constitutional Law > ... > Fundamental
                                                        Rights > Search & Seizure > Scope of
   Criminal Law & Procedure > Search &
                                                        Protection
   Seizure > Seizure of Persons
                                                        Criminal Law & Procedure > Search &
HN11[ ]      Search & Seizure, Scope of
                                                        Seizure > Seizure of Persons
Protection
                                                    HN13[ ]          Search & Seizure, Scope of
The third Brown factor suggests that the more
                                                    Protection
severe an interference with individual liberty,
the more likely a seizure is unreasonable.          No reasonable officer can question the settled
                                                    principle that he may not approach an
                                                    individual on the street, demand identification
   Constitutional Law > ... > Fundamental
                                                    from that person—for which there is no
   Rights > Search & Seizure > Scope of
                                                    suspicion that she engaged in criminal activity
   Protection
                                                    herself—and          forcibly   detain     her      even
   Criminal Law & Procedure > Search &              momentarily in order to induce her cooperation.
   Seizure > Seizure of Persons                     The Supreme Court's decades of precedent are

HN12[ ]    Search & Seizure, Scope of unequivocal, and it is unreasonable not to apply
Protection                            this Fourth Amendment protection to those who
                                                    are in most need of it: innocents known to the
There is no reason to depart from Brown's
                                                    police to have information relevant to an
observation that, in the absence of any basis for
                                                    investigation,       i.e.,   known     witnesses     and
suspecting the detainee of misconduct, the
                                                    victims.
balance between the public interest and the
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 25 of 44 PAGEID #: 139
                                                                                          Page 7 of 26
                                    2023 U.S. App. LEXIS 21581, *1


   Constitutional Law > ... > Fundamental
   Rights > Search & Seizure > Scope of                Civil Rights Law > Protection of
   Protection                                          Rights > Immunity From
                                                       Liability > Defenses
   Criminal Law & Procedure > Search &
   Seizure > Seizure of Persons                        Constitutional Law > ... > Fundamental
                                                       Rights > Search & Seizure > Probable
HN14[ ]      Search & Seizure, Scope of
                                                       Cause
Protection
                                                       Torts > Public Entity
Police need to stop a motorist to ask for help,
                                                       Liability > Immunities > Qualified
but that need—i.e., the need to stop—is less
                                                       Immunity
likely present where a pedestrian, not a
motorist, is involved.                              HN16[ ]          Immunity   From        Liability,
                                                    Defenses

   Constitutional Law > ... > Fundamental           Officers may be entitled to qualified immunity
   Rights > Search & Seizure > Scope of             in situations where reasonable officers' could
   Protection                                       conclude that they have probable cause for an

   Criminal Law & Procedure > Search &              arrest based on plausible instructions from a

   Seizure > Seizure of Persons                     supervisor when viewed objectively in light of
                                                    their own knowledge of the surrounding facts
HN15[ ]      Search & Seizure, Scope of
                                                    and circumstances.
Protection

It is true that, even absent particularized            Civil Rights Law > ... > Scope > Law
reasonable suspicion, innocent bystanders may          Enforcement Officials > Excessive Force
be temporarily detained where necessary to
                                                       Constitutional Law > ... > Fundamental
secure the scene of a valid search or arrest and
                                                       Rights > Search & Seizure > Scope of
ensure the safety of officers and others.
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 26 of 44 PAGEID #: 140
                                                                                              Page 8 of 26
                                    2023 U.S. App. LEXIS 21581, *1


   Protection
                                                        Civil Rights Law > ... > Scope > Law
   Torts > Intentional Torts > False
                                                        Enforcement Officials > Excessive Force
   Arrest > Elements
                                                        Torts > Public Entity Liability > Excessive
   Torts > Public Entity Liability > Excessive
                                                        Force
   Force
                                                     HN18[ ]         Law      Enforcement       Officials,
HN17[ ]       Law     Enforcement      Officials,
                                                     Excessive Force
Excessive Force
                                                     To determine whether force is excessive, courts
But false-arrest claims and excessive-force
                                                     employ an objective-reasonableness test, asking
claims are distinct, such that establishing a lack
                                                     whether the officers' actions are objectively
of probable cause to make an arrest does not
                                                     reasonable      in    light   of   the   facts    and
establish an excessive force claim, and vice-
                                                     circumstances confronting them, without regard
versa. In other words, a claim that any force in
                                                     to their underlying intent or motivation. It is a
an illegal stop or arrest is excessive is
                                                     fact-intensive inquiry, with the overarching
subsumed in the illegal stop or arrest claim and
                                                     determination being whether the totality of the
is not a discrete excessive force claim. When
                                                     circumstances justified the degree of force an
properly stated, an excessive force claim relates
                                                     officer used, The court assesses the situation
to the manner in which an arrest was carried
                                                     from the perspective of a reasonable officer on
out, and is independent of whether law
                                                     the scene, rather than with the 20/20 vision of
enforcement had the power to arrest. Courts
                                                     hindsight.
must therefore analyze the excessive force
claim without regard to whether the arrest itself
was justified. The U.S. Court of Appeals for the        Civil Rights Law > ... > Scope > Law

Sixth Circuit joins its sister circuits and             Enforcement Officials > Excessive Force

concludes that force is not per se excessive
                                                        Constitutional Law > ... > Fundamental
when used to make a false arrest.
                                                        Rights > Search & Seizure > Scope of
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 27 of 44 PAGEID #: 141
                                                                                          Page 9 of 26
                                   2023 U.S. App. LEXIS 21581, *1


   Protection                                       officer lacked a constitutional basis to seize or
                                                    arrest the plaintiff.
HN19[ ]      Law     Enforcement       Officials,
Excessive Force
                                                       Civil Rights Law > ... > Immunity From
Not every push or shove, even if it may later
                                                       Liability > Local Officials > Direct Causal
seem unnecessary in the peace of a judge's
                                                       Links
chambers, violates the Fourth Amendment. The
right to make an arrest necessarily carries with       Torts > Public Entity

it the right to use some degree of physical            Liability > Liability > Vicarious Liability

coercion or threat thereof to effect it. As
                                                    HN21[ ]       Local Officials, Direct Causal
recognized in Burchett v. Kiefer, the minimal
                                                    Links
use of force to handcuff someone is not
excessive when that individual twists and turns Government officials may not be held liable for
some, keeping one arm out and preventing the unconstitutional conduct of their
officers from bringing it down.                     subordinates under a theory of respondeat
                                                    superior. Supervisors must commit some active
                                                    unconstitutional behavior to be liable. Active
   Criminal Law & Procedure > Search &
                                                    behavior does not mean physically putting
   Seizure > Seizure of Persons
                                                    hands on the injured party or even physically
   Evidence > Burdens of Proof > Allocation         being present at the time of the constitutional
                                                    violation. Active behavior can consist of
   Torts > Intentional Torts > False
                                                    encouraging the specific incident of misconduct
   Arrest > Elements
                                                    or in some other way directly participating in it,
HN20[ ]     Search & Seizure, Seizure of or              implicitly    authorizing,   approving,     or
Persons                                             knowingly acquiescing in the unconstitutional
                                                    conduct of the offending officers. Such active
Unreasonable-seizure and false-arrest claims
                                                    behavior must be both a cause in fact and a
require a plaintiff to prove that the arresting
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 28 of 44 PAGEID #: 142
                                                                                         Page 10 of 26
                                    2023 U.S. App. LEXIS 21581, *1


proximate cause of the alleged injury.               5544), Plaintiff - Appellee: Brice Moffatt
                                                     Timmons, Craig A. Edgington, Melissa Jo
                                                     Stewart, Donati Law, Memphis, TN.
   Civil Rights Law > Protection of
   Rights > Immunity From                            For BRETT BARNETT (22-5542, 22-5543),
   Liability > Defenses                              Defendant - Appellant: Robert D. Meyers,
                                                     Danielle N. Rassoul, Aubrey B. Greer, Glankler
   Torts > Public Entity
                                                     Brown, Memphis, TN.
   Liability > Immunities > Qualified
                                                     For KESHA GRAY, Plaintiff - Appellee (22-
   Immunity
                                                     5543): Brice Moffatt Timmons, Craig A.
   Civil Rights Law > ... > Immunity From            Edgington, Melissa Jo Stewart, Donati Law,
   Liability > Local Officials > Individual          Memphis, TN.
   Capacity
                                                     For EUGENIA SUMNER, Defendant -
HN22[ ]        Immunity      From        Liability, Appellant (22-5544): Robert D. Meyers,
Defenses                                             Aubrey B. Greer, Danielle N. Rassoul, Glankler
                                                     Brown, Memphis, TN.
Qualified immunity can protect against claims
of supervisory liability. As in ordinary § 1983 Judges: Before: SILER, KETHLEDGE,
cases, to overcome a claim of qualified WHITE, Circuit Judges.
immunity, a plaintiff must show that the
                                                     Opinion by: HELENE N. WHITE
supervisor's   own     behavior   violated     her
                                                     Opinion
constitutional rights. But the doctrine is
modified at the clearly established prong. A
plaintiff need only show that the right that the HELENE              N.   WHITE,    Circuit    Judge.

subordinate violated was clearly established at Officers Brett Barnett, Bret Simonsen, and
the time of the violation.                           Eugenia Sumner appeal the denial of their
                                                     motions for summary judgment based on
Counsel: For KESHA GRAY (22-5542, 22-
                                                     qualified immunity in this action brought by
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 29 of 44 PAGEID #: 143
                                                                                        Page 11 of 26
                                  2023 U.S. App. LEXIS 21581, *1


Kesha Gray alleging unreasonable-seizure and bruises, scratches, or other signs of a physical
false-arrest claims against all three officers and altercation. Barnett told Gray that Tennessee
an excessive-force claim against Barnett. We law required him to document all domestic-
AFFIRM IN PART and REVERSE IN PART.               violence incidents and Gray responded that she

I.                                                would provide no identifying information or
                                                  statement.
On March 29, 2020, Defendant Shelby County
Deputy    Brett   Barnett   responded    toa Barnett returned to his police vehicle and called
disturbance call regarding [*2] a male and a his supervisor, Defendant Sergeant Eugenia
female engaged in a domestic dispute on the Sumner. Barnett recounted the differences in
side of a road. The caller—Christopher the facts as told by Hodge and Gray. [*3]
Hodge—stated that the male had the female in Barnett finished by telling Sumner that Gray
a chokehold or headlock and was punching her said "she didn't call [the police], she's not under
in the face. Hodge added that he tried to arrest, and she has the right not to say
intervene, but the male threatened him, so he anything." R.72-1 Ex. 1 at 5:26 - 7:55. Sumner
(Hodge) pulled out a gun, leading the male to replied, "That's true, that's true." Id. Sumner
drive away without the female, leaving her on then asked, "Everybody says she's the victim?"
the side of the road.                         and Barnett answered yes — at least according
                                                  to Hodge, who was the only witness and who
Upon arriving at the scene, Barnett spoke with
                                                  had "pulled a pistol" on Gray's fiancé. Id.
Hodge, who repeated what he had told the 911-
                                                  Sumner directed Barnett to keep an eye on
operator. Barnett then located Plaintiff Kesha
                                                  Gray    while    Sumner   called     the    General
Gray, who matched the description of the
                                                  Investigations Bureau to figure out what to do.
female and was walking along the road. Barnett
asked Gray what happened, and Gray explained Sumner called           Defendant       Sergeant     Bret

that she and her fiancé had a heated verbal Simonsen and              explained      the     situation.

argument. Gray showed Barnett her arms and Simonsen advised Sumner "to detain [Gray] for
hands, indicating that she did not have any further investigation" and "to identify her."
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 30 of 44 PAGEID #: 144
                                                                                        Page 12 of 26
                                  2023 U.S. App. LEXIS 21581, *3


R.72-2 PID 592. Simonsen stated that Gray had and placed her in a police vehicle. Sumner
"a duty to help with the investigation." Id. arrived later, and, while Gray remained in the
Sumner called Barnett back and told him to police car, the officers began to discuss
hold Gray for questioning.                        charges. Gray was charged with assault,
                                                  disorderly conduct, obstructing a highway or
Barnett radioed for backup, explaining that
                                                  passageway, and resisting official detention.
Gray will have an attitude and that he is
                                                  She was held in jail for twelve hours. Gray
"probably going to have to fight her to get her
                                                  suffered a miscarriage soon after, and all the
information." R.72-1 Ex. 1 at 5:26 - 7:55.
                                                  charges against her were dropped.
Barnett then exited his vehicle, approached
Gray, and asked for identification. Gray again Gray brought this action against Barnett,
refused. Barnett asked, "Do I need to detain Sumner, and Simonsen, among others. As
you?" and Gray kept [*4] walking away. Id. relevant           to   this     appeal,   Gray   asserted
Barnett pulled out his handcuffs, sped up, unreasonable-seizure and false-arrest claims
grabbed Gray's left wrist and attempted to against the three appellants [*5] and also an
handcuff her. Gray successfully pulled away. excessive-force              claim   against    Barnett.
Barnett re-engaged her five more times but was Defendants moved for summary judgment
unsuccessful in handcuffing her. Barnett then based on qualified immunity. The district court
lunged at Gray and wrapped his arms around determined that qualified immunity did not
her. The two grappled for roughly twenty shield Barnett, Sumner and Simonsen from the
seconds. Gray broke free and continued to walk unreasonable-seizure and false-arrest claims,
home with Barnett in tow.                         nor Barnett from the excessive-force claim, and
                                                  denied summary judgment. Defendants timely
Officers Price and Foster arrived and helped
                                                  appealed.
Barnett surround Gray and successfully tackle
her to the ground. Gray pleaded with them to II.
stop, telling them that she was pregnant. They
                                                  HN1[ ] "While most denials of summary
handcuffed her, picked her up off the ground,
                                                  judgment are nonfinal orders which cannot be
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 31 of 44 PAGEID #: 145
                                                                                                       Page 13 of 26
                                     2023 U.S. App. LEXIS 21581, *5


appealed pursuant to 28 U.S.C. § 1291, it is 396 (1982). It is an "immunity from suit," not a
well established that an order denying qualified "mere defense to liability." Mitchell v. Forsyth,
immunity is immediately appealable." Harrison 472 U.S. 511, 526, 105 S. Ct. 2806, 86 L. Ed.
v. Ash, 539 F.3d 510, 516 (6th Cir. 2008). 2d 411 (1985) (emphasis in original). This
However, this court's jurisdiction in reviewing immunity                "gives        government             officials
qualified-immunity denials is limited. Coffey v. breathing room to make reasonable but
Carroll, 933 F.3d 577, 583-84 (6th Cir. 2019). mistaken               judgments          about        open        legal
We may "entertain the officers' arguments only questions," "protect[ing] 'all but the plainly
to the extent they challenge the district court's incompetent or those who knowingly violate
legal determinations" and "'must ignore the the law.'" Ashcroft v. al-Kidd, 563 U.S. 731,
defendant's attempts to dispute the facts' as read 743, 131 S. Ct. 2074, 179 L. Ed. 2d 1149
by the district court." Id. (quoting Bunkley v. (2011) (quoting Malley v. Briggs, 475 U.S. 335,
City of Detroit, 902 F.3d 552, 560 (6th Cir. 341, 106 S. Ct. 1092, 89 L. Ed. 2d 271 (1986)).
2018)).   That    said,   "we    honor   qualified
                                                     HN3[ ] A "plaintiff bears the burden of
immunity's       principles     by   considering"
                                                     showing that a defendant is not entitled to
uncontroverted video evidence in the record.
                                                     qualified immunity." Bletz v. Gribble, 641 F.3d
Bell v. City of Southfield, 37 F.4th 362, 364
                                                     743, 750 (6th Cir. 2011). With this burden in
(6th Cir. 2022); Rudlaff v. Gillispie, 791 F.3d
                                                     mind, "a defendant is entitled to qualified
638, 639 (6th Cir. 2015) ("Where the police
                                                     immunity on summary judgment unless the
dash-cam videos depict all of the genuinely
                                                     facts, when viewed in the light most favorable
disputed facts, we view the facts in the light
                                                     to the plaintiff, would permit a reasonable juror
depicted by the videotapes." (cleaned up)).
                                                     to find that: (1) the defendant violated a
HN2[ ] Qualified immunity shields public constitutional right; and (2) the right was
officials [*6] "from undue interference with clearly established."1 Williams v. Maurer, 9
their duties and from potentially disabling
                                                     1 Prior to Pearson v. Callahan, 555 U.S. 223, 129 S. Ct. 808, 172 L.
threats of liability." Harlow v. Fitzgerald, 457     Ed. 2d 565 (2009), we "attributed a third prong of 'objective
                                                     unreasonableness' to the qualified immunity analysis." Brown v.
U.S. 800, 806, 102 S. Ct. 2727, 73 L. Ed. 2d         Lewis, 779 F.3d 401, 417 (6th Cir. 2015) (citing Feathers v. Aey,
      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 32 of 44 PAGEID #: 146
                                                                                                             Page 14 of 26
                                                  2023 U.S. App. LEXIS 21581, *6


F.4th 416, 430 (6th Cir. 2021) (quoting Bishop 741 (citations omitted). "[I]n an obvious case,"
v. Hackel, 636 F.3d 757, 765 (6th Cir. 2011)). the law can be clearly established "even
The inquiry may be conducted in any order. without a body of relevant case law." Brosseau
Pearson v. Callahan, 555 U.S. 223, 236, 129 S. v. Haugen, 543 U.S. 194, 199, 125 S. Ct. 596,
Ct. 808, 172 L. Ed. 2d 565 (2009).                                      160 L. Ed. 2d 583 (2004).

HN4[ ] A clearly established right is one that III.
is "sufficiently clear that every reasonable Barnett argues the district court erred in not
official would have understood that what he is recognizing his qualified immunity from Gray's
doing violates that right." Reichle v. Howards, unreasonable-seizure,                               false-arrest,      and
566 U.S. 658, 664, 132 S. Ct. 2088, 182 L. Ed. excessive-force claims.
2d 985 (2012) (cleaned up). "To determine
                                                                        A.
whether a constitutional right is clearly
established, we must look first to decisions of Because Gray's Amended Complaint does not
the Supreme Court, then to decisions [*7] of assert separate unreasonable-seizure and false-
this Court and other courts within our circuit, arrest claims, the district court analyzed
and finally to decisions of other circuits." Barnett's                              qualified   immunity     from     both

Cahoo v. SAS Analytics Inc., 912 F.3d 887, 898 together. R.121 PID 1240 n.2 ("Gray's false
(6th Cir. 2019) (alteration omitted) (quoting arrest claim is included within a broader,
Crawford v. Geiger, 656 F. App'x 190, 198 (6th unreasonable seizure claim."). We do so as
Cir. 2016)). This inquiry does "not require a well. We undertake the qualified-immunity
case directly on point, but existing precedent inquiry in the ordinary sequence, first assessing
must have placed the statutory or constitutional whether Barnett violated a constitutional right
question beyond debate." al-Kidd, 563 U.S. at and then assessing whether the right was
                                                                        clearly established.
319 F.3d 843, 848 (6th Cir. 2003)). We have since corrected course,
observing that "there is no additional, separate hurdle of
reasonableness for [a plaintiff] to overcome" and dispensing with the
                                                                        1.
third prong. Id. Accordingly, we reject Barnett's argument that we
must also find his conduct "objectively unreasonable" in order to
deny him qualified immunity. Case No. 22-5542 Appellant Br. at 33-
                                                                        HN5[ ] The Fourth Amendment prohibits
35 (quoting Feathers, 319 F.3d at 851).
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 33 of 44 PAGEID #: 147
                                                                                     Page 15 of 26
                                  2023 U.S. App. LEXIS 21581, *7


"unreasonable . . . seizures" to protect "[t]he 2d 814 (2003) (quoting Florida v. Bostick, 501
right of the people to be secure in their U.S. 429, 437, 111 S. Ct. 2382, 115 L. Ed. 2d
persons."    U.S.    Const.     amend.      IV. 389 (1991)).
Accordingly, [*8]   we must first determine
                                                  HN7[ ] "To determine if a search or seizure
whether Barnett seized Gray and, if so, whether
                                                  was unreasonable, and thus unconstitutional,
the seizure was unreasonable.
                                                  courts balance the degree of intrusion on the
HN6[ ] When an officer detains an individual individual's interests against 'the importance of
"for the purpose of requiring him to identify the governmental interests alleged to justify the
himself," the officer "perform[s] a seizure of intrusion.'" Colson v. City of Alcoa, 37 F.4th
his person subject to the requirements of the 1182, 1186 (6th Cir. 2022) (quoting Tennessee
Fourth Amendment." Brown v. Texas, 443 U.S. v. Garner, 471 U.S. 1, 8, 105 S. Ct. 1694, 85 L.
47, 50, 99 S. Ct. 2637, 61 L. Ed. 2d 357 (1979). Ed. 2d 1 (1985)). This balance involves
"The application of physical force to the body weighing "[i] the gravity of the public concerns
of a person with intent to restrain is a seizure, served by the seizure, [*9] [ii] the degree to
even if the force does not succeed in subduing which the seizure advances the public interest,
the person." Torres v. Madrid, 141 S. Ct. 989, and [iii] the severity of the interference with
994, 209 L. Ed. 2d 190 (2021). "[B]rief seizures individual liberty." Brown, 443 U.S. at 50-51.
are seizures all the same." Id. at 999. To find a seizure reasonable under the Brown
Accordingly, when Barnett grabbed Gray's test, there "must be . . . specific, objective facts
hands, lunged at her, wrapped his arms around indicating that society's legitimate interests
her, and grappled with her for roughly twenty require the seizure of the particular individual,
seconds, he seized her, notwithstanding her or that the seizure must be carried out pursuant
evading capture. Barnett's "conduct would have to      a   plan    embodying   explicit,   neutral
communicated to a reasonable person that [she] limitations on the conduct of individual
was not at liberty to ignore the police presence officers." Id. "In the absence of any basis for
and go about [her] business." Kaupp v. Texas, suspecting [the detainee] of misconduct"—as is
538 U.S. 626, 629, 123 S. Ct. 1843, 155 L. Ed. the case here—"the balance between the public
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 34 of 44 PAGEID #: 148
                                                                                          Page 16 of 26
                                     2023 U.S. App. LEXIS 21581, *9


interest and [the detainee's] right to personal victims to cooperate advances the cause against
security and privacy tilts in favor of freedom domestic violence. That practice inflicts—not
from police interference." Id. at 52.                 prevents—harm.

HN8[ ] Under the first Brown factor, the In evaluating this second factor, we reject
graver the public concerns underlying seizure, Barnett's emphasis on Gray's status as a witness
the more likely the seizure is reasonable. We to a crime because a state's "interest in
agree with Barnett that domestic violence is of detaining witnesses for information is of
grave public concern and, as such, this factor relatively low value." Maxwell v. County of San
favors finding Barnett's seizure reasonable.          Diego, 708 F.3d 1075, 1084 (9th Cir. 2013)
                                                      (discussing United States v. Ward, 488 F.2d
The second Brown factor, however, strongly
                                                      162, 169 (9th Cir. 1973) (en banc)). We also
weighs    against   finding     Barnett's   seizure
                                                      reject Barnett's suggestion that the seizure
reasonable.   The    public's    interest   against
                                                      advanced the public interest because it enabled
domestic violence revolves around the victim's
                                                      him to file a "statutorily mandated report"
well-being. HN9[ ] Tennessee's domestic
                                                      required by Tennessee Code Annotated § 36-3-
abuse [*10] statute expressly makes this point
                                                      619(e). Case No. 22-5542 Appellant Br. at 29.
in its "legislative intent" provision, which
                                                      That provision reads:
states: "[T]he general assembly intends that the
official response to domestic abuse shall stress         When         a   law   enforcement      officer

enforcing the laws to protect the victim and             investigates an allegation that domestic

prevent further harm to the victim . . . ." Tenn.        abuse occurred, the officer shall make a

Code Ann. § 36-3-618 (emphasis added). In                complete report and file the [*11] report

another provision, the statute expressly states:         with the officer's supervisor in a manner

"Arrest is the preferred response only with              that will permit data on domestic abuse

respect to the primary aggressor." Id. § 36-3-           cases to be compiled. If a law enforcement

619(b). The law does not suggest that police             officer decides not to make an arrest or

physically forcing suspected domestic-violence           decides to arrest two (2) or more parties, the
     Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 35 of 44 PAGEID #: 149
                                                                                              Page 17 of 26
                                       2023 U.S. App. LEXIS 21581, *11


    officer shall include in the report the "provided little reason for anxiety or alarm."
    grounds for not arresting anyone or for 540 U.S. 419, 428, 124 S. Ct. 885, 157 L. Ed.
    arresting two (2) or more parties.                    2d 843 (2004). A crime victim would, however,
                                                          have good reason for anxiety and alarm when,
Tenn. Code Ann. § 36-3-619(e). HN10[ ]
                                                          despite no one disputing her innocence, the
Nothing in this statute requires a victim to
                                                          police target her, chase her, attempt to handcuff
identify herself to an officer nor obliges anyone
                                                          her, lunge at her, wrap their arms around her,
to help the officer prepare his report. In this
                                                          and grapple with her. At best, this factor is
instance,    the    public's   interest     in      law
                                                          neutral.
enforcement's ability to file paperwork is too
minimal to support seizing a domesticviolence HN12[ ] We conclude that there is no reason
victim — especially considering that the duty to depart from Brown's observation that, "[i]n
comes from a statute seeking to protect such the absence of any basis for suspecting [the
victims.                                                  detainee] of misconduct, the balance between
                                                          the public interest and [the detainee's] right to
HN11[ ] The third Brown factor suggests that
                                                          personal security and privacy tilts in favor of
the more severe an interference with individual
                                                          freedom from police interference." Brown, 443
liberty,    the    more   likely   a      seizure    is
                                                          U.S. at 52. Because Barnett's seizure was
unreasonable.      Even   assuming        Barnett    is
                                                          unreasonable, he violated Gray's constitutional
correct—that, for the unreasonable seizure
                                                          rights. Thus, the first prong of the qualified
claim, "the interaction in question consists of
                                                          immunity test is satisfied.
the two (2) minutes immediately preceding
[Officers] Price and Foster's arrival," Case No. 2.
22-5542 Appellant Br. at 12—his interference
                                                          Turning to the clearly-established prong, the
was aggressive. In Illinois v. Lidster, the
                                                          present circumstances exemplify an "'obvious
Supreme Court concluded that subjecting all
                                                          case' where general 'standards can clearly
motorists to [*12] a "systematic[]" and short
                                                          establish the answer, even without a body of
highway stop was reasonable, in part because it
                                                          relevant case law.'" Colson, 37 F.4th at 1189
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 36 of 44 PAGEID #: 150
                                                                                        Page 18 of 26
                                    2023 U.S. App. LEXIS 21581, *12


(quoting Rivas-Villegas v. Cortesluna,       U.S.       of the Fourth Amendment do not allow it.
 , 595 U.S. 1, 142 S. Ct. 4, 8, 211 L. Ed. 2d
                                                    443 U.S. at 52 (emphasis added). Four years
164 (2021) (per curiam)). The Supreme Court's
                                                    after that, in Florida v. Royer, the Supreme
observations have put the question beyond
                                                    Court again observed that "law enforcement
debate. See al-Kidd, 563 U.S. at 741.
                                                    officers do not violate the Fourth Amendment
In 1969, the Supreme Court remarked that by merely approaching an individual on the
it [*13] was a "settled principle that while the street or in another public place, by asking him
police have the right to request citizens to if he is willing to answer some questions, [or]
answer    voluntarily   questions     concerning by putting questions to him if the person is
unsolved crimes[,] they have no right to compel willing to listen," but the person questioned
them to answer." Davis v. Mississippi, 394 U.S. "may not be detained even momentarily without
721, 727 n.6, 89 S. Ct. 1394, 22 L. Ed. 2d 676 reasonable, objective [*14] grounds for doing
(1969) (emphasis added); id. at 726-27 so; and his refusal to listen or answer does not,
("Nothing is more clear than that the Fourth without more, furnish those grounds." 460 U.S.
Amendment was meant to prevent wholesale 491, 497-98, 103 S. Ct. 1319, 75 L. Ed. 2d 229
intrusions upon the personal security of our (1983) (plurality opinion) (emphasis added);
citizenry, whether these intrusions be termed see also Bostick, 501 U.S. at 437 ("We have
'arrests' or 'investigatory detentions.'" (emphasis consistently held that a refusal to cooperate,
added)). Ten years later, the Brown Court without more, does not furnish the minimal
expressly concluded that                            level of objective justification needed for a
                                                    detention or seizure."); Illinois v. Wardlow, 528
   [E]ven assuming that [the public's interest
                                                    U.S. 119, 125, 120 S. Ct. 673, 145 L. Ed. 2d
   in preventing crime] is served to some
                                                    570 (2000) (reiterating the observations made
   degree    by   stopping    and     demanding
                                                    in Royer and Bostick). In 2002, the Supreme
   identification from an individual without
                                                    Court noted that law enforcement "may pose
   any specific basis for believing he is
                                                    questions" to and "ask for identification" from
   involved in criminal activity, the guarantees
                                                    an individual without a "basis for suspecting
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 37 of 44 PAGEID #: 151
                                                                                                   Page 19 of 26
                                         2023 U.S. App. LEXIS 21581, *14


[that] particular individual" of criminal conduct 7:40 (Barnett recounting that Gray said "she
"provided [that] they do not induce cooperation didn't call [the police], she's not under arrest,
by coercive means." United States v. Drayton, and she has the right not to say anything," and
536 U.S. 194, 201, 122 S. Ct. 2105, 153 L. Ed. Sumner responding, "That's true, that's true").
2d 242 (2002) (emphasis added).
                                                          We also reject the argument that Illinois v.
HN13[ ] Put together: No reasonable officer Lidster, 540 U.S. 419, 124 S. Ct. 885, 157 L.
can question the "settled principle" that he may Ed. 2d 843 (2004), would lead a reasonable
not "approach an individual on the street," officer to doubt the unconstitutionality of the
"demand[] identification" from that person— conduct here. In Lidster, the Supreme Court
for which there is no suspicion that she engaged considered highway-checkpoint stops during
in criminal activity herself—and forcibly detain which                the     police   asked    motorists     for
her "even momentarily" in order to "induce information about a fatal hit-and-run. Id. at
[her] cooperation." The Supreme Court's 421; id. at 423 ("The stop's primary law
decades of precedent are unequivocal, and it is enforcement purpose was . . . to ask vehicle
unreasonable     not      to   apply     this   Fourth occupants, as members of the public, for their
Amendment protection to those who are in most help in providing information about a crime in
need of it: innocents known to the police to all likelihood committed by others."). The
have    information [*15]           relevant    to    an Court recognized that police have a right to
investigation,    i.e.,   known        witnesses     and "solicit[]         the   public's     assistance"     in
victims. It is beyond debate that the Fourth investigating a crime. Id. at 425-26. It also
Amendment prohibits Barnett's actions. See recognized a practical difference between
Davis v. Dawson, 33 F.4th 993, 1005 (8th Cir. soliciting that help from motorists and from
2022) (Stras, J., concurring) ("We once again pedestrians. [*16] Id. HN14[ ] Police "need
reject the argument that investigatory need to stop a motorist" to ask for help, but that
justifies suspicionless seizures. No Fourth "need"—i.e., the need to stop—is "less likely
Amendment        principle     is      more     clearly present where a pedestrian, not a motorist, is
established."); see also R.72-1 Ex. 1 at 7:31 - involved." Id. at 425. To avoid the "anomalous"
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 38 of 44 PAGEID #: 152
                                                                                          Page 20 of 26
                                     2023 U.S. App. LEXIS 21581, *16


result where police could "freely [] seek the HN15[ ] It is true that we have previously
voluntary cooperation of pedestrians" but not recognized that "even absent particularized
"seek similar voluntary cooperation from reasonable suspicion, innocent bystanders may
motorists,"   the    Court   held     that    such be temporarily detained where necessary to
highwaycheckpoint stops are constitutional. Id. secure the scene of a valid search or arrest and
at 426. Lidster says that police may stop ensure the safety of officers and others." Bletz,
motorists in order to solicit their assistance; it 641 F.3d at 755. But that is not what happened
does not say anything with respect to what here, and that is not the reason Barnett cites for
police can or cannot do to pedestrians. See Kit his detention of Gray. No reasonable officer in
Kinports, Camreta and al-Kidd: The Supreme Barnett's shoes would believe he needed to
Court, the Fourth Amendment, and Witnesses, detain Gray to secure the scene of a valid
102 J. Crim. L. & Criminology 283, 305-06 search or arrest or to ensure the safety of
(2012) ("But the practical reality constraining officers or others. When Barnett sought to
both the police and the Court in Lidster—that detain Gray, the area was not the scene of a
the only way to 'approach[]' drivers and ask if valid search or arrest. No person's safety was in
they are 'willing to answer some questions' is to jeopardy             either,   notwithstanding          a
'seize' them—applies only in cases where confrontation with a gun, because a reasonable
witnesses are on the road." (quoting Lidster, officer would know—as Barnett did—that
540 U.S. at 425)). Additionally, Lidster is Hodge possessed the gun and that he was
factually inapposite in that police "simply" giving his information to other officers. Nor
requested information and distributed a flyer. was Gray's safety reasonably in question,
540 U.S. at 428. There is no suggestion that considering her abuser had fled — and
police further detained motorists who declined especially considering that Gray emphasized
to give information. See id. ("And there is no that the altercation was entirely verbal and
allegation here that the police acted in a[n] . . . showed that she had no indicia of physical
unlawful [*17]      manner   while    questioning injury.
motorists during stops.").
                                                     We also reject any argument that Barnett is
       Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 39 of 44 PAGEID #: 153
                                                                                                              Page 21 of 26
                                                  2023 U.S. App. LEXIS 21581, *17


entitled to qualified [*18] immunity because judgment on Gray's excessive-force claim
he was simply following Sumner's orders. based on qualified immunity should have been
HN16[ ] In Bunkley v. City of Detroit, we granted. To reach this conclusion we need only
observed that officers may be entitled to analyze whether Barnett's actions violated
qualified        immunity          in     situations         where Gray's constitutional rights. Our analysis is
"'reasonable officers' could conclude that they factually confined to the events preceding the
have probable cause for an arrest based on arrival of Barnett's backup. See R.121 PID
'plausible instructions' from a supervisor when 1251-52 (distinguishing between the "First
'viewed objectively' in light of their own Incident" and the "Second Incident").
knowledge of the surrounding facts and
                                                                         As a preliminary matter, we identify a flaw in
circumstances." 902 F.3d 552, 562 (6th Cir.
                                                                         the theory [*19] behind Gray's excessive-force
2018) (quoting Anthony v. City of New York,
                                                                         claim. Gray argues on appeal that because
339 F.3d 129, 138 (2d Cir. 2003)). Sumner's
                                                                         Barnett had no individualized suspicion that
instructions are not enough; reasonable officers
                                                                         Gray had engaged or would be engaging in
must       consider          the      known          facts      and
                                                                         criminal conduct, he "was therefore not
circumstances. No officer, knowing what
                                                                         justified in using any force against her." Case
Barnett knew, would think he could seize
                                                                         No. 22-5542 Appellee Br. at 23 (emphasis in
Gray.2
                                                                         original). Essentially, Gray contends that any
Accordingly, we affirm the denial of Barnett's force used to falsely arrest is per se excessive.
motion for qualified immunity as to Gray's HN17[ ]                                    But    false-arrest    claims     and
unreasonable-seizure and false-arrest claims.                            excessive-force claims are "distinct, [such that]

B.                                                                       establishing a lack of probable cause to make
                                                                         an arrest does not establish an excessive force
In contrast, Barnett's motion for summary
                                                                         claim, and vice-versa." Beier v. City of
                                                                         Lewiston, 354 F.3d 1058, 1064 (9th Cir. 2004).
2 In his declaration, Barnett avers that he "believed that [his]
superiors had more information or knowledge than [he] did
                                                                         In other words, "a claim that any force in an
regarding the situation." R.88-1 PID 762. On Gray's facts, that belief
was unreasonable.                                                        illegal stop or arrest is excessive is subsumed in
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 40 of 44 PAGEID #: 154
                                                                                              Page 22 of 26
                                    2023 U.S. App. LEXIS 21581, *19


the illegal stop or arrest claim and is not a cases, Snell v. City of York, 564 F.3d 659, 672-
discrete excessive force claim." Bashir v. 73 (3d Cir. 2009), and Jones v. Parmley, 465
Rockdale County, 445 F.3d 1323, 1331 (11th F.3d 46, 61-62 (2d Cir. 2006)); Velazquez v.
Cir. 2006) (quoting Jackson v. Sauls, 206 F.3d City of Long Beach, 793 F.3d 1010, 1024 n.13
1156, 1171 (11th Cir. 2000)). "When properly (9th Cir. 2015).
stated, an excessive force claim . . . relat[es] to
                                                      HN18[ ] To determine whether force is
the manner in which an arrest was carried out,
                                                      excessive,   courts   "employ      an     objective-
and is independent of whether law enforcement
                                                      reasonableness    test,   asking   'whether        the
had the power to arrest." Id. at 1332; see also
                                                      officers' actions are objectively reasonable in
Gerling v. City of Hermann, 2 F.4th 737, 743-
                                                      light of the facts and circumstances confronting
44 (8th Cir. 2021). Courts "must therefore
                                                      them, without regard to their underlying intent
analyze the excessive force claim without
                                                      or motivation.'" Estate of Hill v. Miracle, 853
regard to whether the arrest itself was
                                                      F.3d 306, 312 (6th Cir. 2017) (quoting
justified." Freeman v. Gore, 483 F.3d 404, 417
                                                      Graham, 490 U.S. at 397). It is a "fact-
(5th Cir. 2007) (citing Cortez v. McCauley, 478
                                                      intensive inquiry," Jones v. City of Elyria, 947
F.3d 1108, 1126 (10th Cir. 2007) (en banc)
                                                      F.3d 905, 916-17 (6th Cir. 2020), with the
("[I]n a case where police effect an arrest
                                                      "overarching determination" being "whether the
without probable cause . . . but use no more
                                                      'totality of the circumstances' justified the
force [*20] than would have been reasonably
                                                      degree of force an officer used," Shanaberg v.
necessary if the arrest or detention were
                                                      Licking County, 936 F.3d 453, 456 (6th Cir.
warranted, the plaintiff has a claim for unlawful
                                                      2019) (quoting Bletz, 641 F.3d at 751). We
arrest or detention but not an additional claim
                                                      assess the situation from "the perspective of a
for excessive force.")). We join our sister
                                                      reasonable officer on the scene, rather than with
circuits and conclude that force is not per se
                                                      the 20/20 vision of hindsight." Goodwin v. City
excessive when used to make a false arrest.
                                                      of Painesville, 781 F.3d 314, 321 (6th Cir.
E.g., Sebright v. City of Rockford, 585 F. App'x
                                                      2015) (quoting Graham, 490 U.S. at 396).
905, 907 (7th Cir. 2014) (citing, among other
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 41 of 44 PAGEID #: 155
                                                                                                     Page 23 of 26
                                            2023 U.S. App. LEXIS 21581, *20


Barnett employed an objectively reasonable excessive when that individual "twist[s] and
amount    of   force        to    arrest     Gray.    The turn[s] some," "ke[eping] one arm out" and
uncontroverted video evidence shows Barnett preventing officers from "bring[ing] it down."
grabbing or attempting to grab Gray's hands six 310 F.3d 937, 940, 944 (6th Cir. 2002).
times. With minimal effort, Gray successfully
                                                            Gray does not cite any cases suggesting
shrugs Barnett off [*21] each time. Barnett
                                                            Barnett's         actions     were        objectively
also lunges at Gray, wraps his arms around her,
                                                            unreasonable, instead reiterating her flawed
and tries to pin Gray's left arm to her back and
                                                            legal theory. The district court relied on Smith
handcuff her. But, after about 20 seconds, Gray
                                                            v. City of Troy, 874 F.3d 938 (6th Cir. 2017), to
escaped Barnett's hold by spinning away from
                                                            conclude that "Barnett's use of force was
him. Barnett used more force in this latter part
                                                            excessive," R.121 PID 1251 (citing Smith, 874
of the interaction than he did prior, but we
                                                            F.3d at 945). Although this case and Smith
cannot   conclude      it        was   an     objectively
                                                            involve the "forcible handcuffing" [*22] of an
unreasonable amount of force. HN19[ ] "[N]ot
                                                            individual who committed no crime and
every push or shove, even if it may later seem
                                                            presented no safety risk, there is a key
unnecessary in the peace of a judge's chambers,
                                                            difference. 874 F.3d at 944-45. In Smith, the
violates the Fourth Amendment." Saucier v.
                                                            officer "violated Smith's right to be free from
Katz, 533 U.S. 194, 209, 121 S. Ct. 2151, 150
                                                            excessive force when he took Smith to the
L. Ed. 2d 272 (2001) (quoting Graham, 490
                                                            ground with a leg sweep and landed on top of
U.S. at 396). "The right to make an arrest
                                                            Smith."     Id.    Barnett   did   not    employ         a
necessarily carries with it the right to use some
                                                            comparable amount of force; Gray was not
degree of physical coercion or threat thereof to
                                                            taken to the ground during her encounter with
effect it." Shreve v. Jessamine Cnty. Fiscal Ct.,
                                                            Barnett prior to his backup arriving.
453 F.3d 681, 687 (6th Cir. 2006) (cleaned up)
(quoting Graham, 490 U.S. at 396). As Because Barnett used an objectively reasonable
recognized in Burchett v. Kiefer, the minimal amount of force, he did not violate Gray's
use of force to handcuff someone is not constitutional rights and is entitled to qualified
      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 42 of 44 PAGEID #: 156
                                                                                             Page 24 of 26
                                      2023 U.S. App. LEXIS 21581, *22


immunity from Gray's excessive-force claim.            directly participat[ing] in it," Bellamy v.

IV.                                                    Bradley, 729 F.2d 416, 421 (6th Cir. 1984), or
                                                       "implicitly      authoriz[ing],   approv[ing],    or
Gray asserts unreasonable-seizure and false-
                                                       knowingly acquiesc[ing] in the unconstitutional
arrest claims against Sumner for ordering
                                                       conduct of the offending officers," Shehee v.
Barnett to detain Gray, and against Simonsen
                                                       Luttrell, 199 F.3d 295, 300 (6th Cir. 1999)
for directing Sumner to order Barnett to detain
                                                       (quoting Hays v. Jefferson County, 668 F.2d
Gray. HN20[ ] Such claims require a plaintiff
                                                       869, 874 (6th Cir. 1982)); Crawford v. Tilley,
to prove that "the arresting officer" lacked a
                                                       15 F.4th 752, 761 (6th Cir. 2021). Such active
constitutional basis to seize or arrest the
                                                       behavior "must be both a cause in fact and a
plaintiff. Voyticky v. Vill. of Timberlake, 412
                                                       proximate cause of the alleged injury."
F.3d 669, 677 (6th Cir. 2005).
                                                       Crawford, 15 F.4th at 762.

HN21[ ] "Government officials may not be
                                                       HN22[ ] Qualified immunity can protect
held liable for the unconstitutional conduct of
                                                       against claims of supervisory liability. As in
their subordinates under a theory of respondeat
                                                       ordinary § 1983 cases, to overcome a claim of
superior." Ashcroft v. Iqbal, 556 U.S. 662, 676,
                                                       qualified immunity, a plaintiff must show that
129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009).
                                                       the supervisor's own behavior violated her
Supervisors   must    commit     "some       'active
                                                       constitutional rights. But the doctrine is
unconstitutional   behavior'"    to     be   liable.
                                                       modified at the clearly established prong. A
Peatross v. City of Memphis, 818 F.3d 233, 241
                                                       plaintiff "need only show that the right that [the
(6th Cir. 2016). "Active behavior" does not
                                                       subordinate] violated was clearly established at
mean "physically put[ting] hands on the [*23]
                                                       the time of the violation." Peatross, 818 F.3d at
injured party or even physically being present
                                                       245 (first quoting Bass v. Robinson, 167 F.3d
at the time of the constitutional violation." Id.
                                                       1041, 1048 (6th Cir. 1999), and then citing
at 242 (alterations omitted). Active behavior
                                                       Coley v. Lucas County, 799 F.3d 530, 539-41
can consist of "encourag[ing] the specific
                                                       (6th Cir. 2015)).
incident of misconduct or in some other way
    Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 43 of 44 PAGEID #: 157
                                                                                      Page 25 of 26
                                   2023 U.S. App. LEXIS 21581, *23


Gray contends that Sumner knew that Hodge answered by the district court, and we are
pulled the gun and that Sumner relayed that without jurisdiction to answer them in this
information    to   Simonsen.     Sumner     and interlocutory appeal of a denial of summary
Simonsen contend that Sumner believed Gray's judgment based on qualified immunity. Coffey,
fiancé pulled the gun and relayed that 933 F.3d at 583-
information to Simonsen. The district [*24]
                                                    To the extent Sumner and Simonsen contend
court did not decide whose version of events is
                                                    that they still have qualified immunity under
true. Instead, it concluded that Sumner and
                                                    Gray's version of the facts, they are mistaken.
Simonsen were not entitled to qualified
                                                    See Ouza v. City of Dearborn Heights, 969
immunity "[u]nder either scenario." R.121 PID
                                                    F.3d 265, 277 (6th Cir. 2020) ("[T]to bring an
1246-47. The district court, therefore, viewed
                                                    interlocutory appeal of a qualified immunity
Sumner's knowledge and what she told
                                                    ruling, the defendant must be willing to
Simonsen as immaterial facts. George v.
                                                    concede the plaintiff's version of [*25] the
Youngstown State Univ., 966 F.3d 446, 458
                                                    facts for purposes of the appeal." (quoting
(6th Cir. 2020) ("A 'material' fact is one that
                                                    Jefferson v. Lewis, 594 F.3d 454, 459 (6th Cir.
'might affect the outcome of the suit under the
                                                    2010))). Gray's theory is that Sumner knew that
governing law.'" (quoting Anderson v. Liberty
                                                    Hodge pulled the pistol on Gray's fiancé, R.72-
Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505,
                                                    1 Ex. 2 at 5:26 - 7:55, and told Simonsen the
91 L. Ed. 2d 202 (1986)). We disagree with that
                                                    same, R.72-2 PID 591-92. If true, Sumner and
legal determination. Sumner's understanding of
                                                    Simonsen both knew what Barnett knew: that
the events and what she told Simonsen might
                                                    there was no gunman on the loose and that
be relevant to whether either or both committed
                                                    Gray was simply a noncooperative victim or
a constitutional violation, e.g., they engaged in
                                                    witness whom they lacked a constitutional basis
active unconstitutional behavior. Shehee, 199
                                                    to seize. R.72-1 Ex. 1 at 7:31 - 7:40 (Sumner
F.3d at 300 ("knowing acquiescence").
                                                    responding, "that's true, that's true" when
In any event, what Sumner knew and told Barnett told her that Gray said "she didn't call
Simonsen are open factual questions not [the police], she's not under arrest, and she has
      Case: 1:22-cv-00301-MWM Doc #: 19-1 Filed: 03/08/24 Page: 44 of 44 PAGEID #: 158
                                                                                     Page 26 of 26
                                     2023 U.S. App. LEXIS 21581, *25


the right not to say anything"). And if they had [] to begin discharging weapons at the unarmed
knowledge of these facts, Simonsen (in demonstrators"). Because we earlier concluded
directing Sumner) and Sumner (in directing that Barnett violated Gray's clearly established
Barnett) engaged in active unconstitutional constitutional rights in seizing Gray, Gray has
behavior, in that they (at the very least) satisfied her burden to overcome Sumner and
authorized, approved, or knowingly acquiesced Simonsen's assertions of qualified immunity at
in Barnett's unconstitutional seizure. See, e.g., this juncture.
Bennett v. City of Eastpointe, 410 F.3d 810, V.
820-21 (6th Cir. 2005) (summary judgment on
                                                  For these reasons, we AFFIRM the district
§ 1983 supervisory liability claim denied to
                                                  court's denial of qualified immunity to Barnett,
chief of police who "instructed his officers to
                                                  Sumner, and Simonsen with respect to Gray's
investigate any black[] youths riding through
                                                  unreasonable-seizure and false-arrest claims,
Eastpointe"); Stillwagon v. City of Delaware,
                                                  and REVERSE the district court's denial of
747 F. App'x 361, 374-75 (6th Cir. 2018)
                                                  qualified immunity to Barnett with respect to
(summary judgment denied on § 1983
                                                  Gray's excessive force claim.
supervisory liability claim to detective sergeant
who     "ordered   [an    officer]     to    direct    End of Document

[another] [*26] to file the criminal complaint
against" the plaintiff and "approved the steps
they were taking to investigate the case");
Keating v. City of Miami, 598 F.3d 753, 763-64
(11th Cir. 2010) (supervisory liability under §
1983 plausibly alleged against police chief who
"approved orders permitting the police [] to
advance while beating unarmed demonstrators
and discharging projectiles and tear gas," and
against police captain who "directed the police
